Case 2:09-cr-00156-FVS   ECF No. 503   filed 08/20/10   PageID.2099 Page 1 of 6
Case 2:09-cr-00156-FVS   ECF No. 503   filed 08/20/10   PageID.2100 Page 2 of 6
Case 2:09-cr-00156-FVS   ECF No. 503   filed 08/20/10   PageID.2101 Page 3 of 6
Case 2:09-cr-00156-FVS   ECF No. 503   filed 08/20/10   PageID.2102 Page 4 of 6
Case 2:09-cr-00156-FVS   ECF No. 503   filed 08/20/10   PageID.2103 Page 5 of 6
Case 2:09-cr-00156-FVS   ECF No. 503   filed 08/20/10   PageID.2104 Page 6 of 6
